Case: 5:18-cr-00019-DCR-MAS Doc #: 28-2 Filed: 08/28/18 Page: 1 of 1 - Page ID#: 83




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                              CENTRAL DIVISION
                                AT LEXINGTON

 ACTION NO: 18-CR-19-DCR                                ELECTRONICALLY FILED


 UNITED STATES                                                          PLAINTIFF

 VS.

 SCOTT W. SULIK                                                        DEFENDANT

                                      ORDER

                            ***************

        On Motion of the Defendant seeking relief under 18 U.S.C. § 3553(a)(2) at

 his sentencing, and the Court being otherwise sufficiently advised:

       IT IS HEREBY ORDERED that the said Motion is SUSTAINED, and the

 Judgment in a Criminal Case shall issue accordingly.

       So ORDERED this              day of ________________, 2018.

                                            ______________________________
                                            JUDGE, U.S. DISTRICT COURT
 PREPARED BY;


 /s/ Rachel D. Yavelak_______
 HON. RACHEL D. YAVELAK
 120 North Mill Street, Suite 300
 Lexington, Ky 40507
 (859) 523-1606
